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                EXHIBIT A
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                                                                        SAN FRANCISCO AIRPORT COMMISSION
                                                                         REVENUE AND EXPENSE SUMMARY


                                                                                                      FY 2022/23 vs. 2021/22                                    FY 2023/24 vs. 2022/23
                                                          Budget                  Budget               Increase / Decrease                  Budget               Increase / Decrease
                                                         FY 2021/22              FY 2022/23            Amount          Percent             FY 2023/24            Amount          Percent

REVENUE

Aviation
   Landing Fees                                      $    242,325,000        $    214,065,000     $    (28,260,000)       -11.7%      $      225,351,000    $     11,286,000       5.3%
   Terminal Rentals                                       343,369,000             322,186,000          (21,183,000)        -6.2%             375,229,000          53,043,000      16.5%
   Other Aviation Revenue                                  86,972,000              95,344,000            8,372,000          9.6%             106,691,000          11,347,000      11.9%
    Subtotal Aviation                                $    672,666,000        $    631,595,000     $    (41,071,000)        -6.1%      $      707,271,000    $     75,676,000      12.0%

Non-Aviation
  Parking                                            $      49,331,000       $     87,953,000     $     38,622,000         78.3%      $      118,008,000    $     30,055,000      34.2%
  Concessions                                               85,799,000            159,249,000           73,450,000         85.6%             221,237,000          61,988,000      38.9%
  Sale of Electricity                                       23,053,000             28,070,000            5,017,000         21.8%              29,140,000           1,070,000       3.8%
  Other Sales & Services                                    58,016,000             71,558,000           13,542,000         23.3%              79,705,000           8,147,000      11.4%
    Subtotal Non-Aviation                            $    216,199,000        $    346,830,000     $    130,631,000         60.4%      $      448,090,000    $    101,260,000      29.2%

   Operating Revenue                                 $    888,865,000        $    978,425,000     $     89,560,000         10.1%      $    1,155,361,000    $    176,936,000      18.1%

Non-Operating Revenue
  PFC Revenue                                        $    131,902,000        $    137,000,000     $      5,098,000          3.9%      $      130,000,000    $     (7,000,000)     -5.1%
  Interest Income                                           5,681,000              18,844,000           13,163,000        231.7%              22,522,000           3,678,000      19.5%
  Deferred Aviation Surplus                                       -                43,611,786           43,611,786           N/A              64,168,682          20,556,896      47.1%
  Federal Stimulus Funds                                  187,879,028                     -           (187,879,028)      -100.0%                     -                   -          N/A
  Reconciling Difference                                          -                       -                    -             N/A                     -                   -          N/A
   Non-Operating Revenue                             $    325,462,028        $    199,455,786     $   (126,006,242)       -38.7%      $      216,690,682    $     17,234,896        8.6%

   TOTAL REVENUE                                     $   1,214,327,028       $   1,177,880,786    $    (36,446,242)        -3.0%      $    1,372,051,682    $    194,170,896      16.5%

EXPENDITURES

Personnel Services
   Salaries                                          $    180,254,668        $    189,412,109     $      9,157,441          5.1%      $      211,358,848    $     21,946,739      11.6%
   Fringe Benefits*                                        91,123,492              89,206,593           (1,916,899)        -2.1%              90,767,305           1,560,712       1.7%
   Overhead                                                 5,309,597               4,557,260             (752,337)       -14.2%               4,557,260                 -         0.0%
    Subtotal Personnel Services                      $    276,687,757        $    283,175,962     $      6,488,205          2.3%      $      306,683,413    $     23,507,451        8.3%

Non-Personnel
  Travel                                             $         271,065       $         472,190    $        201,125         74.2%      $          471,900    $           (290)     -0.1%
  Training                                                     746,512                 744,662              (1,850)        -0.2%                 944,662             200,000      26.9%
  Employee Field Expenses                                       28,734                  84,034              55,300        192.5%                  89,034               5,000       5.9%
  Membership Fees                                              630,930                 635,820               4,890          0.8%                 635,820                 -         0.0%
  Entertainment & Promotion                                    244,326                 261,126              16,800          6.9%                 261,126                 -         0.0%
  Court Fees & Other Compensation                                8,550                   8,550                 -            0.0%                   8,550                 -         0.0%
  Professional & Specialized Services                       78,651,028              82,785,785           4,134,757          5.3%              95,620,421          12,834,636      15.5%
  Maintenance Svcs - Bldgs & Structures                      1,684,847               3,065,050           1,380,203         81.9%               4,516,050           1,451,000      47.3%
  Maintenance Svcs - Equipment                              55,780,976              61,770,755           5,989,779         10.7%              63,834,161           2,063,406       3.3%
  Rents & Leases - Buildings                                   286,400                 301,400              15,000          5.2%                 311,400              10,000       3.3%
  Rents & Leases - Equipment                                   573,000                 487,520             (85,480)       -14.9%                 487,520                 -         0.0%
  Utilities Expenses                                         7,395,000               7,330,000             (65,000)        -0.9%               7,330,000                 -         0.0%
  Subsistance                                                   10,000                  10,000                 -            0.0%                  10,000                 -         0.0%
  Other Current Expenses                                    15,965,196              11,197,346          (4,767,850)       -29.9%              11,945,384             748,038       6.7%
  Taxes: Licenses/Permits                                    2,059,700               2,881,485             821,785         39.9%               2,914,625              33,140       1.2%
  Judgments & Claims                                           250,000                 250,000                 -            0.0%                 250,000                 -         0.0%
  Fixed Charges                                                 55,000                  55,000                 -            0.0%                  55,000                 -         0.0%
     Subtotal Non Personnel Expenses                 $    164,641,264        $    172,340,723     $      7,699,459          4.7%      $      189,685,653    $     17,344,930      10.1%

Materials & Supplies                                       17,373,352              15,064,191           (2,309,161)       -13.3%              16,306,528           1,242,337        8.2%
Equipment                                                   4,403,646               3,236,539           (1,167,107)       -26.5%               2,718,005            (518,534)     -16.0%
Debt Service                                              521,435,725             443,538,450          (77,897,275)       -14.9%             575,029,174         131,490,724       29.6%
Light, Heat, and Power                                     48,969,778              57,885,522            8,915,744         18.2%              55,081,975          (2,803,547)      -4.8%

Services of Other Departments
   City Attorney - Legal Services                            4,965,000               4,965,000                 -            0.0%               4,965,000                 -          0.0%
   Mayor's Office - Risk Management                         10,592,591              13,968,405           3,375,814         31.9%              13,494,353            (474,052)      -3.4%
   All Other Departments                                    19,465,546              19,514,586              49,040          0.3%              21,412,006           1,897,420        9.7%
     Subtotal Services of Other Depts                $      35,023,137       $      38,447,991    $      3,424,854          9.8%      $       39,871,359    $      1,423,368        3.7%

Designated for General reserve                       $              -        $              -     $            -                -     $                 -   $            -             -

Public Safety
  Fire                                                      31,395,342              33,198,885           1,803,543          5.7%              34,762,696           1,563,811        4.7%
  Police                                                    71,350,984              73,661,810           2,310,826          3.2%              79,869,416           6,207,606        8.4%
     Subtotal Public Safety                          $    102,746,326        $    106,860,695     $      4,114,369          4.0%      $      114,632,112    $      7,771,417        7.3%

Annual Service Payment to City (ASP)                        23,000,000              37,080,000          14,080,000         61.2%              50,886,750          13,806,750      37.2%

Other Transfers
   Small Capital Outlay                                      5,014,330               5,219,000             204,670          4.1%               5,375,000             156,000        3.0%
   Facilities Maintenance                                   15,000,000              15,000,000                 -            0.0%              15,750,000             750,000        5.0%
   Surety Bond Fund Transfer                                    31,713                  31,713                 -            0.0%                  31,713                 -          0.0%
   Other                                                           -                       -                   -             N/A                     -                   -           N/A
     Subtotal Other Transfers                               20,046,043              20,250,713             204,670          1.0%              21,156,713             906,000        4.5%


   TOTAL EXPENDITURE                                 $   1,214,327,028       $   1,177,880,786    $    (36,446,242)        -3.0%      $    1,372,051,682    $    194,170,896      16.5%

* Includes Other Post-Employment Benefits (OPEB) contribution of $2.5M in FY22, FY23 and FY24
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                                                                      SAN FRANCISCO AIRPORT COMMISSION
                                                                       REVENUE AND EXPENSE SUMMARY


                                                                                                       FY 2020/21 vs. 2019/20            Projected         FY 2021/22 vs. 2020/21
                                                          Budget                Budget                  Increase / Decrease               Budget            Increase / Decrease
                                                         FY 2019/20            FY 2020/21               Amount          Percent         FY 2021/22           Amount        Percent

REVENUE

Aviation
   Landing Fees                                      $    238,635,000      $     162,149,716       $ (76,485,284)         -32.1%    $    299,107,781   $ 136,958,065        84.5%
   Terminal Rentals                                       326,475,000            230,673,043         (95,801,957)         -29.3%         385,374,531     154,701,488        67.1%
   Other Aviation Revenue                                  95,006,000             91,013,000          (3,993,000)          -4.2%          95,279,000       4,266,000         4.7%
    Subtotal Aviation                                $    660,116,000      $     483,835,759       $ (176,280,241)        -26.7%    $    779,761,312   $ 295,925,553        61.2%

Non-Aviation
  Parking                                            $     98,422,000      $      69,224,000       $ (29,198,000)         -29.7%    $     86,101,000   $    16,877,000      24.4%
  Concessions                                             244,716,000            165,057,000         (79,659,000)         -32.6%         221,125,000        56,068,000      34.0%
  Sale of Electricity                                      27,480,000             22,255,000          (5,225,000)         -19.0%          24,607,000         2,352,000      10.6%
  Other Sales & Services                                   80,139,000             72,701,000          (7,438,000)          -9.3%          75,000,000         2,299,000       3.2%
    Subtotal Non-Aviation                            $    450,757,000      $     329,237,000       $ (121,520,000)        -27.0%    $    406,833,000   $    77,596,000      23.6%

   Operating Revenue                                 $ 1,110,873,000       $     813,072,759       $ (297,800,241)        -26.8%    $ 1,186,594,312    $ 373,521,553        45.9%

Non-Operating Revenue
  PFC Revenue                                        $    102,886,000      $     164,980,000       $  62,094,000           60.4%    $    284,200,000   $ 119,220,000        72.3%
  Interest Income                                          23,367,000              1,998,000         (21,369,000)         -91.4%           3,373,000        1,375,000       68.8%
  Deferred Aviation Surplus                                (6,226,000)                   -             6,226,000         -100.0%                 -                -           N/A
  Federal Grant                                                   -              254,780,499         254,780,499             N/A                 -       (254,780,499)    -100.0%
  Reconciling Difference                                   68,736,146                    -           (68,736,146)        -100.0%                 -                -           N/A
  Non-Operating Revenue                              $    188,763,146      $     421,758,499       $ 232,995,353          123.4%    $    287,573,000   $ (134,185,499)     -31.8%

   TOTAL REVENUE                                     $ 1,299,636,146       $ 1,234,831,258         $ (64,804,888)           -5.0%   $ 1,474,167,312    $ 239,336,054        19.4%

EXPENDITURES

Personnel Services
   Salaries                                          $    164,712,400      $     168,339,724       $      3,627,324          2.2%   $    170,614,917   $     2,275,193       1.4%
   Fringe Benefits*                                        91,915,715             89,171,835             (2,743,880)        -3.0%        106,227,708        17,055,873      19.1%
   Overhead                                                 5,177,742              5,099,075                (78,667)        -1.5%          5,309,597           210,522       4.1%
    Subtotal Personnel Services                      $    261,805,857      $     262,610,634       $       804,777          0.3%    $    282,152,222   $    19,541,588       7.4%

Non-Personnel
  Travel                                             $        696,525      $         620,850       $       (75,675)       -10.9%    $        736,090   $       115,240      18.6%
  Training                                                    799,500                901,500               102,000         12.8%             901,500               -         0.0%
  Employee Field Expenses                                     141,350                 83,150               (58,200)       -41.2%             152,150            69,000      83.0%
  Membership Fees                                             658,600                658,355                  (245)         0.0%             663,555             5,200       0.8%
  Entertainment & Promotion                                   268,000                326,100                58,100         21.7%             378,900            52,800      16.2%
  Court Fees & Other Compensation                               8,550                  8,550                   -            0.0%               8,550               -         0.0%
  Professional & Specialized Services                      88,687,515             80,968,179            (7,719,336)        -8.7%         117,709,342        36,741,163      45.4%
  Maintenance Svcs - Bldgs & Structures                     3,733,800              3,632,847              (100,953)        -2.7%           4,580,800           947,953      26.1%
  Maintenance Svcs - Equipment                             41,271,603             60,218,323            18,946,720         45.9%          62,479,525         2,261,202       3.8%
  Rents & Leases - Buildings                                  427,890              1,559,187             1,131,297        264.4%             467,890        (1,091,297)    -70.0%
  Rents & Leases - Equipment                                  397,000                556,000               159,000         40.1%             556,000               -         0.0%
  Utilities Expenses                                        6,512,000              7,353,000               841,000         12.9%           7,353,000               -         0.0%
  Subsistance                                                  30,000                 30,000                   -            0.0%              30,000               -         0.0%
  Other Current Expenses                                    9,158,040             17,020,399             7,862,359         85.9%          17,521,490           501,091       2.9%
  Taxes: Licenses/Permits                                   4,085,600              2,682,500            (1,403,100)       -34.3%           4,168,600         1,486,100      55.4%
  Judgments & Claims                                          250,000                250,000                   -            0.0%             250,000               -         0.0%
  Fixed Charges                                                55,000                 55,000                   -            0.0%              55,000               -         0.0%
     Subtotal Non Personnel Expenses                 $    157,180,973      $     176,923,940       $    19,742,967         12.6%    $    218,012,392   $    41,088,452      23.2%

Materials & Supplies                                       20,595,903             19,923,753              (672,150)        -3.3%          20,803,471           879,718       4.4%
Equipment                                                   3,000,438              3,992,609               992,171         33.1%           4,509,684           517,075      13.0%
Debt Service                                              584,377,291            531,312,000           (53,065,291)        -9.1%         675,397,718       144,085,718      27.1%
Light, Heat, and Power                                     50,708,501             43,510,305            (7,198,196)       -14.2%          44,955,911         1,445,606       3.3%

Services of Other Departments
   City Attorney - Legal Services                           4,165,000              4,465,000                300,000         7.2%           4,490,000             25,000      0.6%
   Mayor's Office - Risk Management                         6,467,981              8,121,005              1,653,024        25.6%           9,338,406          1,217,401     15.0%
   All Other Departments                                   30,862,211             29,166,156             (1,696,055)       -5.5%          30,630,626          1,464,470      5.0%
     Subtotal Services of Other Depts                $     41,495,192      $      41,752,161       $       256,969          0.6%    $     44,459,032   $      2,706,871      6.5%

Designated for General reserve                       $         50,000      $              -        $       (50,000)      -100.0%    $            -     $            -         N/A

Public Safety
  Fire                                                     30,200,452             31,023,056               822,604          2.7%          31,536,241           513,185       1.7%
  Police                                                   78,072,176             80,386,750             2,314,574          3.0%          81,180,136           793,386       1.0%
     Subtotal Public Safety                          $    108,272,628      $     111,409,806       $     3,137,178          2.9%    $    112,716,377   $      1,306,571      1.2%

Annual Service Payment to City (ASP)                       51,517,650             25,142,150           (26,375,500)       -51.2%          46,083,900        20,941,750      83.3%

Other Transfers
   Small Capital Outlay                                     5,100,000              4,986,373               (113,627)       -2.2%           5,086,100             99,727      2.0%
   Facilities Maintenance                                  15,500,000             13,000,000             (2,500,000)      -16.1%          17,500,000          4,500,000     34.6%
   Surety Bond Fund Transfer                                   31,713                 31,713                    -           0.0%              31,713                -        0.0%
   Other                                                          -                  235,814                235,814          N/A           2,458,792          2,222,978    942.7%
     Subtotal Other Transfers                              20,631,713             18,253,900             (2,377,813)      -11.5%          25,076,605          6,822,705     37.4%


   TOTAL EXPENDITURE                                 $ 1,299,636,146       $ 1,234,831,258         $ (64,804,888)           -5.0%   $ 1,474,167,312    $ 239,336,054        19.4%

* Includes Other Post-Employment Benefits (OPEB) contribution of $9.5M, $2.5M and $15.7M in FY20, FY21 and FY22, respectively
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                                                                   SAN FRANCISCO AIRPORT COMMISSION
                                                                     REVENUE AND EXPENSE SUMMARY


                                                                                                      FY 2018/19 vs. 2017/18          Projected     FY 2019/20 vs. 2018/19
                                                         Budget                Budget                  Increase / Decrease             Budget        Increase / Decrease
                                                        FY 2017/18            FY 2018/19               Amount         Percent        FY 2019/20       Amount        Percent

REVENUE

Aviation
   Landing Fees                                     $    200,600,000      $     227,504,000       $    26,904,000       13.4%    $    245,335,000   $ 17,831,000       7.8%
   Terminal Rentals                                      282,637,000            296,056,000            13,419,000        4.7%         330,693,000     34,637,000      11.7%
   Other Aviation Revenue                                 82,343,000             88,303,000             5,960,000        7.2%          91,170,000      2,867,000       3.2%
    Subtotal Aviation                               $    565,580,000      $     611,863,000       $    46,283,000        8.2%    $    667,198,000   $ 55,335,000       9.0%

Non-Aviation
  Parking                                           $    106,486,000      $      97,645,000       $    (8,841,000)       -8.3%   $    104,841,000   $  7,196,000       7.4%
  Concessions                                            197,699,000            213,004,000            15,305,000         7.7%        236,712,000     23,708,000      11.1%
  Sale of Electricity                                     27,612,000             26,843,000              (769,000)       -2.8%         27,650,000        807,000       3.0%
  Other Sales & Services                                  75,180,000             78,484,000             3,304,000         4.4%         79,954,000      1,470,000       1.9%
   Subtotal Non-Aviation                            $    406,977,000      $     415,976,000       $     8,999,000         2.2%   $    449,157,000   $ 33,181,000       8.0%

   Operating Revenue                                $    972,557,000      $ 1,027,839,000         $    55,282,000        5.7%    $ 1,116,355,000    $ 88,516,000       8.6%

Non-Operating Revenue
  PFC Revenue                                       $     31,661,500      $      67,881,000       $  36,219,500         114.4%   $     63,744,000   $ (4,137,000)      -6.1%
  Interest Income                                         11,099,000             21,833,675          10,734,675          96.7%         28,937,245      7,103,570       32.5%
  Deferred Aviation Surplus                               37,000,000             22,000,000         (15,000,000)        -40.5%         20,853,380     (1,146,620)      -5.2%
  Reconciling Difference                                  (1,703,552)            20,493,523          22,197,075       -1303.0%         67,353,110     46,859,587      228.7%
  Non-Operating Revenue                             $     78,056,948      $     132,208,198       $ 54,151,250           69.4%   $    180,887,735   $ 48,679,537       36.8%

   TOTAL REVENUE                                    $ 1,050,613,948       $ 1,160,047,198         $ 109,433,250         10.4%    $ 1,297,242,735    $ 137,195,537      11.8%
EXPENDITURES

Personnel Services
   Salaries                                         $    153,399,403             155,623,140      $     2,223,737        1.4%    $    159,085,275   $    3,462,135     2.2%
   Fringe Benefits*                                       82,028,478             85,548,074             3,519,596        4.3%          88,643,273        3,095,199     3.6%
   Overhead                                                2,700,000              4,648,548             1,948,548       72.2%           5,177,742          529,194    11.4%
    Subtotal Personnel Services                     $    238,127,881      $     245,819,762       $     7,691,881        3.2%    $    252,906,290   $    7,086,528     2.9%

Non-Personnel
  Travel                                            $        704,412      $         695,525       $        (8,887)       -1.3%   $        696,525   $        1,000      0.1%
  Training                                                   645,250                799,500               154,250        23.9%            799,500              -        0.0%
  Employee Field Expenses                                    129,425                141,350                11,925         9.2%            141,350              -        0.0%
  Membership Fees                                            556,430                658,600               102,170        18.4%            658,600              -        0.0%
  Entertainment & Promotion                                  261,600                268,000                 6,400         2.4%            268,000              -        0.0%
  Court Fees & Other Compensation                             10,000                  8,550                (1,450)      -14.5%              8,550              -        0.0%
  Professional & Specialized Services                     71,405,515             86,498,146            15,092,631        21.1%         88,687,515        2,189,369      2.5%
  Maintenance Svcs - Bldgs & Structures                    4,454,000              3,703,800              (750,200)      -16.8%          3,733,800           30,000      0.8%
  Maintenance Svcs - Equipment                            34,599,233             37,801,052             3,201,819         9.3%         41,271,603        3,470,551      9.2%
  Rents & Leases - Buildings                               4,327,080              1,792,246            (2,534,834)      -58.6%            427,890       (1,364,356)   -76.1%
  Rents & Leases - Equipment                                 321,500                377,000                55,500        17.3%            397,000           20,000      5.3%
  Utilities Expenses                                       5,403,000              6,412,000             1,009,000        18.7%          6,512,000          100,000      1.6%
  Subsistance                                                 50,000                 30,000               (20,000)      -40.0%             30,000              -        0.0%
  Other Current Expenses                                   6,742,915              9,145,975             2,403,060        35.6%          9,158,040           12,065      0.1%
  Fixed Charges                                            3,473,764              3,947,000               473,236        13.6%          4,390,600          443,600     11.2%
    Subtotal Non Personnel Expenses                 $    133,084,124      $     152,278,744       $    19,194,620        14.4%   $    157,180,973   $    4,902,229      3.2%

Materials & Supplies                                      17,961,400             21,412,236             3,450,836       19.2%          20,595,903         (816,333)   -3.8%
Equipment                                                  2,174,563              2,922,290               747,727       34.4%           3,000,438           78,148     2.7%
Debt Service                                             433,023,815            494,785,646            61,761,831       14.3%         585,173,634       90,387,988    18.3%
Light, Heat, and Power                                    48,778,008             48,205,541              (572,467)      -1.2%          50,708,501        2,502,960     5.2%

Services of Other Departments
   City Attorney - Legal Services                          4,165,000              4,165,000                   -          0.0%           4,165,000             -        0.0%
   Mayor's Office - Risk Management                        6,415,368              6,415,368                   -          0.0%           6,415,368             -        0.0%
   All Other Departments                                  17,322,268             28,383,402            11,061,134       63.9%          28,768,048         384,646      1.4%
     Subtotal Services of Other Depts               $     27,902,636      $      38,963,770       $    11,061,134       39.6%    $     39,348,416   $     384,646      1.0%

Designated for General reserve                      $             -       $               -       $             -         N/A    $     10,300,000   $ 10,300,000         N/A

Public Safety
  Fire                                                    25,916,460             28,381,635             2,465,175        9.5%          29,325,339        943,704       3.3%
  Police                                                  58,264,799             60,852,566             2,587,767        4.4%          76,553,878     15,701,312      25.8%
     Subtotal Public Safety                         $     84,181,259      $      89,234,201       $     5,052,942        6.0%    $    105,879,217   $ 16,645,016      18.7%

Annual Service Payment to City (ASP)                      45,627,750             46,597,350                 969,600      2.1%          51,517,650        4,920,300    10.6%

Other Transfers
   Small Capital Outlay                                    4,720,799              4,795,945                  75,146      1.6%           5,100,000         304,055      6.3%
   Facilities Maintenance                                 15,000,000             15,000,000                     -        0.0%          15,500,000         500,000      3.3%
   Surety Bond Fund Transfer                                  31,713                 31,713                     -        0.0%              31,713             -        0.0%
    Subtotal Other Transfers                              19,752,512             19,827,658                  75,146      0.4%          20,631,713         804,055      4.1%


   TOTAL EXPENDITURE                                $ 1,050,613,948       $ 1,160,047,198         $ 109,433,250         10.4%    $ 1,297,242,735    $ 137,195,537      11.8%


* Includes Other Post-Employment Benefits (OPEB) contribution of $9,500,000 in FY 2018/19 and FY 2019/20.
